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                                    APPENDIX II
                                   LIST OF AMICI*

   *All amici have signed on in an individual capacity, with institutional affiliation
                           for identification purposes only.


  Evangeline Abriel                            Paulina D. Arnold
  Clinical Professor of Law                    Assistant Professor of Law
  Santa Clara University School of Law         University of Michigan Law School

  Muneer I. Ahmad                              Lauren R Aronson
  Sol Goldman Clinical Professor               Clinical Professor
   of Law                                      University of Illinois College of Law
  Yale Law School
                                               Ahilan Arulanantham
  Susan Akram                                  Professor from Practice
  Clinical Professor                           UCLA School of Law
  Director, International Human
   Rights Clinic                               Sameer M. Ashar
  Boston University School of Law              Clinical Professor of Law
                                               UC Irvine School of Law
  Raquel E. Aldana
  Professor of Law                             Elizabeth R. Baldwin
  UC Davis School of Law                       Visiting Assistant Professor
                                                of Lawyering Skills
  Nadia Anguiano                               Seattle University School of Law
  Associate Clinical Professor of Law
  University of Minnesota Law School           Sabrina Balgamwalla
                                               Assistant Professor
  Nermeen Arastu                               Wayne State Law School
  Associate Professor of Law
  City University of New York (CUNY)           Caitlin Barry
  School of Law                                Professor of Law
                                               Villanova University
  Sabrineh Ardalan                             Charles Widger School of Law
  Clinical Professor of Law
  Director, Harvard Immigration
   and Refugee Clinical Program
  Harvard Law School
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  Jon Bauer                                Emily Brown
  Clinical Professor of Law                Assistant Clinical Professor of Law
  Richard D. Tulisano ‘69 Scholar          The Ohio State University
   in Human Rights                         Moritz College of Law
  University of Connecticut
  School of Law                            Ann Bright
                                           Visiting Assistant Professor
  David Bedingfield                        St. Mary’s University School of Law
  Visiting Professor
  Florida State University                 Katherine Buckel
                                           Adjunct Professor
  Seyla Benhabib                           Immigration Defense Externship
  Senior Research Scholar                  Columbia Law School
  Adjunct Professor of Law
  Columbia Law School                      J. Anna Cabot
                                           Immigration Clinic Director,
  Jacqueline Bhabha                        Assistant Dean of Clinical Programs
  Jeremiah Smith, Jr. Lecturer in Law      University of Houston Law Center
  Harvard Law School
  Professor of the Practice of Health      Jason Cade
   and Human Rights                        J. Alton Hosch Professor
  Harvard T.H. Chan School of              University of Georgia School of Law
   Public Health
                                           Kristina M. Campbell
  Kaci Bishop                              Professor of Law
  Martha Brandis Term Professor and        Rita G. & Norman L. Roberts
  Clinical Professor of Law                 Faculty Scholar
  University of North Carolina             Director, Beatriz and Ed Schweitzer
  School of Law                             Border Justice Initiative
                                           Gonzaga University School of Law
  Matthew Boaz
  Assistant Professor of Law               Elizabeth Campbell
  University of Kentucky                   Clinical Professor of Law
  J. David Rosenberg College of Law        University of Michigan Law School

  Richard A. Boswell                       Stacy Caplow
  Professor of Law                         Professor of Law
  UC Law San Francisco                     Brooklyn Law School
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  Jennifer M. Chacón                         Lance Conklin
  Bruce Tyson Mitchell Professor             Adjunct Professor
   of Law                                    Trinity Law School
  Stanford Law School
                                             Daniel Cortes
  R. Linus Chan                              Assistant Professor of Law
  Professor of Clinical Law                  Villanova University
  University of Minnesota Law School
                                             Adam Cox
  Angelica Chazaro                           Robert A. Kindler Professor of Law
  Charles I. Stone Professor of Law          NYU School of Law
  University of Washington
  School of Law                              Sara Cressey
                                             Visiting Professor
  Ming H. Chen                               Refugee and Human Rights Clinic
  Professor of Law                           University of Maine School of Law
  Harry & Lillian Hastings Research
   Chair                                     Rose Cuison-Villazor
  Faculty Director, Center for Race,         Professor of Law
   Immigration Citizenship & Equality        Chancellor’s Social Justice Scholar
  UC Law San Francisco                       Rutgers Law School

  Gabriel J. Chin                            Haiyun Damon-Feng
  Edward L. Barrett Jr. Chair &              Assistant Professor of Law
  Martin Luther King Jr. Professor           Benjamin N. Cardozo School of Law
  UC Davis School of Law
                                             Lauren DesRosiers
  Marisa S. Cianciarulo                      Visiting Assistant Professor
  Dean and Professor of Law                  Director, Immigration Law Clinic
  Western State College of Law               Albany Law School

  Dree K. Collopy                            Michael Doyle
  Adjunct Professor                          University Professor
  American University                        Columbia Law School
  Washington College of Law
                                             Dorien Ediger-Seto
  Jenny-Brooke Condon                        Research Scholar
  Professor of Law                           NYU School of Law
  Associate Dean for Faculty Affairs
  Seton Hall Law School
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  Stella Burch Elias                        Valeria Gomez
  Professor of Law                          Assistant Professor of Law
  University of Iowa College of Law         University of Baltimore
                                            School of Law
  Kate Evans
  Clinical Professor of Law                 Joanne Gottesman
  Duke University School of Law             Clinical Professor of Law
                                            Director, Immigrant Justice Clinic
  Richard Frankel                           Rutgers Law School
  Professor of Law
  Drexel University                         Pratheepan Gulasekaram
  Thomas R. Kline School of Law             Professor of Law
                                            University of Colorado
  Niels W. Frenzen
  Sidney M. and Audrey M. Irmas             Anju Gupta
  Endowed Clinical Professor of Law         Professor of Law
  Co-Director, Immigration Clinic           Rutgers Law School
  University of Southern California
  Gould School of Law                       Lucas Guttentag
                                            Professor of the Practice of Law
  Maryellen Fullerton                       Stanford Law School
  Suzanne J. and Norman Miles
  Professor of Law                          Susan Gzesh
  Brooklyn Law School                       Instructional Professor
                                            University of Chicago
  John Harland Giammatteo
  Associate Professor                       Nicole Hallett
  State University at Buffalo               Clinical Professor of Law
  School of Law                             University of Chicago Law School

  Denise Gilman                             Rebecca Hamlin
  Co-Director, Immigration Clinic           Professor of Political Science
  University of Texas School of Law          and Legal Studies
                                            University of Massachusetts,
  Jennifer Gordon                           Amherst
  Professor of Law
  Fordham University School of Law          Lindsay M. Harris
                                            Professor of Law
                                            University of San Francisco
                                            School of Law
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  Geoffrey Heeren                           Kevin R. Johnson
  Professor of Law                          Distinguished Professor of Law
  University of Idaho College of Law        Mabie-Apallas Professor of
                                             Public Interest Law
  Mackenzie Heinrichs                       Martin Luther King Jr.
  Visiting Assistant Professor of            Professor of Law
   Clinical Law                             UC Davis School of Law
  Immigration and Human Rights
   Fellow                                   Kit Johnson
  University of Minnesota Law School        Hugh Roff Professor of Law
                                            Thomas P. Hester Presidential
  Laura A. Hernandez                         Professor
  Professor of Law                          The University of Oklahoma
  Baylor Law School                         College of Law

  Barbara Hines                             Elizabeth Jordan
  Clinical Professor of Law (retired)       Visiting Assistant Professor
  University of Texas School of Law         Immigration Clinic Director
  Immigration Clinic                        University of Denver Sturm
                                            College of Law
  Mary Holper
  Clinical Professor                        Michael Kagan
  Boston College Law School                 Joyce Mack Professor of Law
                                            University of Nevada, Las Vegas
  Talia Inlender
  Deputy Director                           Nancy Kelly
  Center for Immigration Law                Senior Clinical Instructor
   and Policy                               Harvard Law School
  UCLA School of Law
                                            Elizabeth Keyes
  Emily Johanson                            Professor of Law
  Clinical Teaching Fellow                  University of Baltimore
  University of Baltimore
  School of Law                             Kathleen Kim
                                            Professor of Law
                                            LMU Loyola Law School

                                            Jennifer Lee Koh
                                            Associate Professor of Law
                                            Pepperdine Caruso School of Law
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  Charles H. Kuck                          Estelle M. McKee
  Adjunct Professor of Law                 Clinical Professor of Law
  Emory Law School                         Cornell Law School

  Jennifer J. Lee                          Michelle McKinley
  Associate Professor of Law               Bernard B. Kliks Professor of Law
  Temple University                        University of Oregon School of Law
  Beasley School of Law
                                           Maria Isabel Medina
  Theo Liebmann                            Victor H. Schiro Distinguished
  Clinical Professor of Law                 Professor of Law
  Maurice A. Deane School of Law           Loyola University New Orleans
  Hofstra University                       College of Law

  Luis Mancheno                            Katie Herbert Meyer
  Clinical Teaching Fellow                 Professor of Practice
  Kathryn O. Greenberg Immigration         Washington University
   Justice Clinic                          School of Law
  Benjamin N. Cardozo School of Law
                                           Nickole Miller
  Aly Madan                                Associate Professor of Law
  Adjunct Professor of Law                 Drake University Law School
  New England Law Boston
                                           Jennifer Moore
  Peter Margulies                          Professor of Law
  Professor of Law                         University of New Mexico
  Roger Williams University                School of Law
  School of Law
                                           Daniel I. Morales
  Peter L. Markowitz                       Associate Professor of Law
  Professor of Law                         Dwight Olds Chair in Law
  Co-Director, Kathryn O. Greenberg        University of Houston Law Center
   Immigration Justice Clinic
  Benjamin N. Cardozo School of Law        Nancy Morawetz
                                           Professor of Clinical Law
  Fatma Marouf                             New York University School of Law
  Professor of Law
  Texas A&M School of Law                  Angela Morrison
                                           Professor of Law
                                           Texas A&M School of Law
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  Hiroshi Motomura                           Jackie Pearce
  Susan Westerberg Prager                    Clinical Instructor and Supervising
  Distinguished Professor of Law              Attorney
  UCLA School of Law                         Immigrant & Non-Citizen Rights
                                              Clinic
  Elora Mukherjee                            CUNY School of Law
  Jerome L. Greene Clinical Professor
   of Law                                    Talia Peleg
  Columbia Law School                        Associate Professor
                                             Co-Director, Immigrant and
  Karen Musalo                                Non-Citizen Rights Clinic
  Professor                                  CUNY Law School
  UC Law San Francisco
                                             Huyen Pham
  Natalie Nanasi                             University Distinguished Professor
  Associate Professor                        Texas A&M University
  SMU Dedman School of Law                   School of Law

  Lindsay Nash                               Nina Rabin
  Associate Professor of Law                 Clinical Professor
  Cardozo Law School                         UCLA School of Law

  Mae Ngai                                   Jaya Ramji-Nogales
  Professor of History                       Professor of Law
  Columbia University                        Temple University

  D. Carolina Núñez                          Jayesh Rathod
  Charles E. Jones Professor of Law          Professor of Law
  BYU Law School                             American University
                                             Washington College of Law
  John Palmer
  Associate Professor                        Krystal Rodriguez-Campos
  Universitat Pompeu Fabra                   Associate Dean of Law
  Barcelona, Spain                           Director, Justice and Immigration
                                              Clinic
  Reena Parikh                               University of La Verne
  Assistant Clinical Professor
  Boston College Law School
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  Jessica Rofé                               Irene Scharf
  Assistant Professor of Law                 Professor of Law Emerita
  Director, Constitutional Rights Clinic     University of Massachusetts
  Rutgers Law School
                                             Anne Schaufele
  Sarah Rogerson                             Assistant Professor of Law
  Professor of Law                           Co-Director, Immigration &
  Albany Law School                           Human Rights Clinic
                                             University of the District of Columbia
  Carrie Rosenbaum                           David A. Clarke School of Law
  Senior Fellow
  Santa Clara University School of Law       Erica Schommer
                                             Clinical Professor of Law
  Rachel E. Rosenbloom                       St. Mary's University School of Law
  Professor of Law
  Northeastern University                    Philip G. Schrag
  School of Law                              Delaney Family Professor of
                                              Public Interest Law
  Rubén G. Rumbaut                           Georgetown University
  Distinguished Professor
  University of California, Irvine           Rebecca Sharpless
                                             Professor of Law
  Kevin Ruser                                Director, Immigration Clinic
  Clinic Professor of Law                    University of Miami School of Law
  University of Nebraska
  College of Law                             Ragini Shah
                                             Clinical Professor of Law
  Lexie Salamone                             Suffolk University Law School
  Immigration Law Clinic
   Attorney Fellow                           Sarah Sherman-Stokes
  Washington University School of Law        Clinical Associate Professor of Law
                                             Boston University School of Law
  Lucy E. Salyer
  Professor of History                       Anita Sinha
  University of New Hampshire                Professor of Law
                                             American University
  Faiza Sayed                                Washington College of Law
  Associate Professor of Law
  Director, Safe Harbor Clinic
  Brooklyn Law School
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  Doug Smith                                David B. Thronson
  Lecturer in Immigration and               Professor of Law
   Human Rights                             Michigan State University
  Brandeis University                       College of Law

  Gemma Solimene                            Veronica Tobar Thronson
  Clinical Associate Professor of Law       Clinical Professor of Law
  Fordham University Law School             Michigan State University
                                            College of Law
  Jayashri Srikantiah
  Professor of Law                          Allison Brownell Tirres
  Director, Immigrants' Rights Clinic       Professor Law
  Associate Dean for Clinical Education     DePaul University College of Law
  Stanford Law School
                                            Scott Titshaw
  Elissa Steglich                           Professor of Law
  Clinical Professor                        Mercer University School of Law
  University of Texas School of Law
                                            Mia Unger
  Brett Stokes                              Lecturer in Law
  Director, Center for Justice              Columbia Law School
   Reform Clinic
  Vermont Law and Graduate School           Tania N. Valdez
                                            Associate Professor of Law
  Juliet Stumpf                             The George Washington University
  Edmund O. Belsheim Professor              Law School
   of Law
  Lewis & Clark Law School                  Paulina Vera
                                            Professorial Lecturer in Law
  Maureen Sweeney                           The George Washington University
  Law School Professor                      Law School
  University of Maryland
  Carey School of Law                       Alexander Vernon
                                            Assistant Professor
  Claire R. Thomas                          Director, Immigration Law Clinic
  Assistant Professor of Law                Detroit Mercy School of Law
  New York Law School
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Leti Volpp                                Michael J. Wishnie
Robert D. and Leslie Kay Raven            William O. Douglas Clinical
 Professor of Law                          Professor of Law
UC Berkeley School of Law                 Yale Law School

Katherine Kaufka Walts                    Jessica Yanez
Clinical Professor of Law                 Visiting Director, Immigrant Rights
Loyola University Chicago                  Clinic
School of Law                             Washington & Lee University
                                          School of Law
Jonathan Weinberg
Distinguished Professor of Law            Mary Yanik
Wayne State University                    Associate Clinical Professor of Law
                                          Tulane Law School
Deborah M. Weissman
Reef C. Ivey II Distinguished             Bri Zhuang
 Professor of Law                         Staff Attorney &
University of North Carolina              Immigration Law Teaching Fellow
School of Law                             Refugee and Human Rights Clinic
                                          University of Maine School of Law
Anna Welch
Professor of Law
University of Maine School of Law

Jocelyn B. Cazares Willingham
Assistant Professor of Law
Director of the Immigration
  and Human Rights Clinic
University of the District of Columbia
David A. Clarke School of Law

John Willshire
Senior Clinical Instructor
Harvard Law School

Amelia Wilson
Assistant Clinical Professor
Director, Immigration Justice Clinic
Pace Law School
